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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


PUBLIC INTEREST LEGAL
FOUNDATION, INC.,

         Plaintiff,
                                                       Civil Action No. 1:21-cv-03180-ACR
         v.

MONICA HOLMAN EVANS,

         Defendant.


                                    JOINT STATUS REPORT

          On April 10, 2023, the Court issued a minute order denying without prejudice Executive

Director Evans’s Motion to Dismiss [9]. The Court further ordered the Parties to submit a joint

status report updating the Court on (1) any material developments in the case since the last filing;

(2) the status of settlement discussions, if any; and (3) a proposal on how to conduct further

proceedings in this case. The Parties respond as follows.

   I.          Material Developments in the Case

          This case concerns two requests from Plaintiff to the Board of Elections (BOE) for the

disclosure of certain voter registration information under a provision of the National Voter

Registration Act, 52 U.S.C. § 20501, et seq. Due to the passage of time, some—but not all—of

the information Plaintiff sought is no longer protected under that statutory scheme and will be

produced by BOE. This change does not, however, moot Plaintiff’s claims; nor does it

materially impact the arguments in Director Evans’s Motion to Dismiss.

   II.         Settlement Discussions

          The parties have not engaged in settlement discussions, and settlement is unlikely.


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   III.      Proposal for Further Proceedings

          As noted, Plaintiff’s claims remain live, and Director Evans intends to refile her Motion

to Dismiss without material update. In accordance with Section 7(f) of the Court’s Standing

Order, the Parties are available for a pre-motion conference on May 2, 4, or 5, 2023. The Parties

propose the following briefing schedule for the re-filing of Defendant’s Motion to Dismiss:

                     EVENT                                      DEADLINE

 Defendant’s Motion to Dismiss                    May 19, 2023

 Plaintiff’s Opposition to Defendant’s            June 2, 2023
 Motion to Dismiss
 Reply in Support of Defendant’s Motion to        June 16, 2023
 Dismiss


Dated: May 1, 2023                      Respectfully submitted,

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                                        Civil Litigation Division

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